    Case: 1:18-cv-01869 Document #: 178 Filed: 10/11/18 Page 1 of 4 PageID #:805



1489-16
                       IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MICHELLE PARKINSON,                                )
                                      Plaintiff,   )
         v.                                        )        No. 1:18-cv-01869
                                                   )
PNC Bank, National Association,                    )        Judge Edmond E. Chang
William S. Demchak, Sarah T. Greggerson,           )        Magistrate Judge Jeffrey Cole
Christina Cottrell, Amy Toller,                    )
Anselmo Lindberg LLC & Associates, LLC,            )
f/k/a Anselmo Lindberg Oliver, LLC,                )        Jury Demand
Steven C. Lindberg, Doug Oliver,                   )
Thomas Anselmo, Michael Anselmo, Bryan D.          )
Hughes, Michael C. Crowe, Christopher S. Iaria, )
Sean Jordan, Masum Patel, Susan Ward,              )
Tracy M. Bristow, Attorneys’ Title Guaranty        )
Fund, Inc., Peter Birnbaum, ATG LegalServe, Inc., )
Kelly Ann Kienzle, Scott Pryor, Kathleen           )
Dinunno, Nancy Porter, Monique M. Reyes,           )
Catherine A. Schneider, individually and in her    )
Official capacity as Justice of the Cook County    )
Circuit Court, Dorothy Brown, individually and in )
Her official capacity of the Circuit Court of Cook )
County, Illinois; Cook County Circuit Court        )
Its official capacity, DOES 1-1000 individually    )
and in their official capacities,                  )
                                       Defendants. )


   DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR COSTS OF SERVICE

          Defendants, Attorneys’ Title Guaranty Fund, Inc., Peter Birnbaum, ATG LegalServe,

Inc., and Kelly Ann Kienzle, (collectively referred to as “the ATG defendants”) by and through

their attorneys, Mitchell A. Lieberman and Robert E. Haney, hereby respond to Plaintiff’s

Motion for Costs of Service as follows:

    1. On October 10, 2018 the court entered an order [175] granting the ATG defendants to

          and including October 24, 2018 to file this instant response to Plaintiff’s Motion for

          Costs of Service [169].



                                                   1
    Case: 1:18-cv-01869 Document #: 178 Filed: 10/11/18 Page 2 of 4 PageID #:805




   2. Plaintiff’s motion [169] seeks reimbursement for fees and costs of service of the

       complaint upon the ATG defendants.

   3. Plaintiff’s motion is without merit because on April 12, 2018, prior to Plaintiff’s attempts

       at service, counsel for defendants, Mitchell A. Lieberman and Robert E. Haney, had

       already entered appearances for all of the ATG defendants [8, 9, 10, 11, 12, 13, 14, and

       15].

   4. Plaintiff was fully aware that these appearances had been filed on April 12, 2018 by

       virtue of the court’s CM/ECF system.

   5. In addition to the foregoing, Mitchell A. Lieberman and Robert E. Haney wrote to

       Plaintiff on May 7th and May 15th regarding service on the ATG defendants. In that

       correspondence, which is attached as exhibits to Plaintiff’s motion, Mitchell A.

       Lieberman and Robert E. Haney objected to service upon the ATG defendants because

       appearances had already been filed.

   6. For the foregoing reasons, it was unnecessary and wasteful for Plaintiff to incur fees and

       costs to serve the complaint upon the ATG defendants.

       WHEREFORE, Defendants, ATTORNEYS’ TITLE GUARANTY FUND, INC., PETER

BIRNBAUM, ATG LEGALSERVE, INC. and KELLY ANN KIENZLE, respectfully ask that

Plaintiff’s Motion for Costs of Service be denied.

                                      /s/ Robert E. Haney
                                      Attorney for Defendants
                                      Attorneys’ Title Guaranty Fund, Inc., Peter Birnbaum,
                                      ATG LegalServe, Inc. and Kelly Ann Kienzle
Mitchell A. Lieberman #6193234
Robert E. Haney #6189905
Noonan & Lieberman, Ltd.
105 W. Adams, Suite 1800
Chicago, Illinois 60603
312-431-1455



                                                 2
    Case: 1:18-cv-01869 Document #: 178 Filed: 10/11/18 Page 3 of 4 PageID #:805




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                                     Plaintiff,    )
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Its official capacity, DOES 1-1000 individually    )
and in their official capacities,                  )
                                       Defendants. )

                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that true and correct copies of the foregoing DEFENDANTS’

RESPONSE TO PLAINTIFF’S MOTION FOR COSTS OF SERVICE was served by electronic

filing with the Clerk of the Court(ECF) on this 11th day of October, 2018 which will send notice to

all parties of record.

                                     Respectfully submitted,

                                     /s/ Robert E. Haney
                                     Attorney for Defendants
                                     Attorneys’ Title Guaranty Fund, Inc., Peter Birnbaum,
                                     ATG LegalServe, Inc. and Kelly Ann Kienzle




                                                  3
   Case: 1:18-cv-01869 Document #: 178 Filed: 10/11/18 Page 4 of 4 PageID #:805




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Robert E. Haney #6189905
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                                        4
